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                      Exhibit A
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND I,
L.P., CONTRARIAN DOME DU GOUTER
MASTER FUND, LP, CONTRARIAN
CAPITAL SENIOR SECURED, L.P.,
CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS                      Case No. 19 Civ. 11018 [rel.
HOLDINGS, LLC, and CONTRARIAN                         Nos. 19 Civ. 3123 & 18 Civ. 11940]
FUNDS, L.L.C.,
                                                      Hon. Analisa Torres
                           Plaintiffs,

                v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                           Defendant.




              DEFENDANT’S RESPONSE TO PLAINTIFFS’ SECOND REVISED
                             RULE 56.1 STATEMENT

         Pursuant to Federal Rule of Civil Procedure 56 and Local Civil Rule 56.1, Defendant

Bolivarian Republic of Venezuela (the “Republic”) respectfully submits this response

(“Response”) to Plaintiff’s second revised Rule 56.1 statement of undisputed material facts

(“Plaintiffs’ SMF”).

   I.         THE PARTIES

         1.     Contrarian Capital Management, L.L.C., is a limited liability company organized

under the laws of the State of Delaware with its principal place of business in Greenwich,

Connecticut. Schwartz Decl. ¶ 3.
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         Republic’s Response: Undisputed.

         2.    Contrarian Capital Fund I, L.P., is a limited partnership organized under the laws

of the State of Delaware with its principal place of business in Greenwich, Connecticut.

Schwartz Decl. ¶ 4.

         Republic’s Response: Undisputed.

         3.    Contrarian Dome du Gouter Master Fund, LP, is a limited partnership organized

under the laws of Ontario, Canada with its principal place of business in Greenwich,

Connecticut. Schwartz Decl. ¶ 5.

         Republic’s Response: Undisputed.

         4.    Contrarian Capital Senior Secured, L.P., is a limited partnership organized under

the laws of the State of Delaware with its principal place of business in Greenwich, Connecticut.

Schwartz Decl. ¶ 6.

         Republic’s Response: Undisputed.

         5.    Contrarian EM II, LP, is a limited partnership organized under the laws of the

State of Delaware with its principal place of business in Greenwich, Connecticut. Schwartz Decl.

¶ 7.

         Republic’s Response: Undisputed.

         6.    Contrarian Emerging Markets, L.P., is a limited partnership organized under the

laws of the State of Delaware with its principal place of business in Greenwich, Connecticut.

Schwartz Decl. ¶ 8.

         Republic’s Response: Undisputed.

         7.    Polonius Holdings, LLC, is a limited liability company organized under the laws

of the State of Delaware with its principal place of business in Greenwich, Connecticut.


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Schwartz Decl. ¶ 9.

       Republic’s Response: Undisputed.

       8.      Contrarian Funds, L.L.C., is a limited liability company organized under the laws

of Delaware with its principal place of business in Greenwich, Connecticut. Contrarian Funds,

L.L.C., is the parent of Polonius Holdings, LLC. Schwartz Decl. ¶ 10.

       Republic’s Response: Undisputed.

       9.      The “Contrarian Funds” comprise Contrarian Capital Fund I, L.P., Contrarian

Dome du Gouter Master Fund, LP, Contrarian Capital Senior Secured, L.P., Contrarian EM

II, LP, Contrarian Emerging Markets, L.P., Polonius Holdings, LLC, and Contrarian Funds,

L.L.C. Schwartz Decl. ¶ 11.

      Republic’s Response: This is not a statement of fact, but rather a defined term. There is,
      however, no dispute over the use of the defined term herein.

       10.     The Contrarian Funds hold interests in accounts held by Polonius Holdings, LLC

directly, and through a master participation agreement with Contrarian Funds, L.L.C. Schwartz

Decl. ¶ 11.

       Republic’s Response: Undisputed.

       11.     Contrarian Capital Management, L.L.C., acts as an investment manager for each

of the Contrarian Funds. Schwartz Decl. ¶ 11.

       Republic’s Response: Undisputed.

       12.     None of Plaintiffs, nor, to Plaintiffs’ knowledge, any of the beneficial owners of

any Plaintiff, is (a) the state and Government of Venezuela; (b) any political subdivision, agency,

or instrumentality thereof, including the Central Bank of Venezuela, Petróleos de Venezuela,

S.A., the National Bolivarian Armed Forces of Venezuela and the Venezuelan Economic and

Social Development Bank; (c) any person owned or controlled, directly or indirectly, by the


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entities listed in subsections (a) or (b); (d) any person who has acted or purported to act directly

or indirectly for, or on behalf of, the entities listed in subsections (a) or (b), including without

limitation any member of the Nicolás Maduro regime; (e) any “Senior Foreign Political Figure”

as defined in 31 C.F.R. § 1010.605(p) to the extent that the term “covered financial institution”

in 31 C.F.R. § 1010.605(p) is construed to refer to Plaintiffs; (f) any spouse, parent, sibling,

child, or spouse’s parent or sibling, of any natural person listed in subsections (a)-(e); or close

associate of any natural person listed in subsection (a)-(e). Schwartz Decl. ¶ 12.

         Republic’s Response: Undisputed.

         13.     Defendant Bolivarian Republic of Venezuela (“Venezuela” or the “Republic”) is

a foreign state as defined in 28 U.S.C. § 1603(a). See Dkt. 34 (Answer) ¶ 17.

         Republic’s Response: Undisputed.

   II.         WAIVER OF SOVEREIGN IMMUNITY

         14.     Section 14(a) of the 1998 Fiscal Agency Agreement (the “1998 FAA”) provides:

                 The Issuer agrees that any suit, action or proceeding against it or
                 its properties, assets or revenues with respect to this Agreement,
                 any Security or a coupon appertaining thereto (a “Related
                 Proceeding”) shall be brought exclusively in the Supreme Court
                 of the State of New York, County of New York; in the United
                 States District Court for the Southern District of New York . . . as
                 the person bringing such Related Proceeding may elect in its sole
                 discretion . . . (all such courts described in this sentence being
                 called herein “Specified Courts”). . . . The Issuer hereby
                 irrevocably submits to the exclusive jurisdiction of each of the
                 Specified Courts for the purpose of any Related Proceeding . . . .

                 Ex. J § 14(a).

         Republic’s Response: Undisputed.

         15.     Section 14(a) of the 2001 Fiscal Agency Agreement (the “2001 FAA”) provides:

                 The Issuer agrees that any suit, action or proceeding against it or


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               its properties, assets or revenues with respect to this Agreement,
               any Note or a coupon appertaining thereto (a “Related
               Proceeding”) shall be brought exclusively in the Supreme Court
               of the State of New York, County of New York; in the United
               States District Court for the Southern District of New York . . . as
               the person bringing such Related Proceeding may elect in its sole
               discretion . . . (all such courts described in this sentence being
               called herein “Specified Courts”). . . . The Issuer hereby
               irrevocably submits to the exclusive jurisdiction of each of the
               Specified Courts for the purpose of any Related Proceeding . . . .

               Ex. K § 14(a).

       Republic’s Response: Undisputed.

       16.     Plaintiffs’ suit is a “Related Proceeding” within the meaning of the 1998 FAA

because it is a “suit, action or proceeding against [Venezuela] or its properties, assets or revenues

with respect to this Agreement, any Security or a coupon appertaining thereto.” Ex. J § 14(a).

       Republic’s Response: Undisputed.

       17.     Plaintiffs’ suit is a “Related Proceeding” within the meaning of the 2001 FAA

because it is a “suit, action or proceeding against [Venezuela] or its properties, assets or revenues

with respect to this Agreement, any Note or a coupon appertaining thereto.” Ex. K § 14(a).

       Republic’s Response: Undisputed.

       18.     The “United States District Court for the Southern District of New York” is a

“Specified Court” as defined in the 1998 FAA. Ex. J § 14(a).

       Republic’s Response: Undisputed.

       19.     The “United States District Court for the Southern District of New York” is a

“Specified Court” as defined in the 2001 FAA. Ex. K § 14(a).

       Republic’s Response: Undisputed.

       20.     Under § 12 of the 1998 FAA, the 1998 FAA “shall be governed by, and

interpreted in accordance with, the laws of the State of New York without regard to principles


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of conflicts of laws. . . .” Ex. J § 12.

           Republic’s Response: Undisputed.

           21.     Under § 12 of the 2001 FAA, the 2001 FAA “shall be governed by, and

interpreted in accordance with, the laws of the State of New York without regard to principles

of conflict of laws . . . .” Ex. K § 12.

           Republic’s Response: Undisputed.

    III.         THE BONDS AND VENEZUELA’S FAILURE TO PAY

           22.     The Contrarian Funds are beneficial owners of bonds issued by the Bolivarian

Republic of Venezuela (the “Bonds”) under the 1998 FAA, as amended, and the 2001 FAA, as

amended. Schwartz Decl. ¶13.

           Republic’s Response: Undisputed.

           23.     The 1998 FAA is between the Republic of Venezuela and Banco Central de

Venezuela, as Venezuela’s official fiscal agent, and The Chase Manhattan Bank, as fiscal agent.

Ex. J at 1.

           Republic’s Response: Undisputed.

           24.     The 1998 FAA was signed on behalf of Venezuela by a then-authorized

representative of Venezuela. Ex. J at 30.

           Republic’s Response: Undisputed.

           25.     The 1998 FAA provides that any bonds issued under it are “unsecured . . . , direct,

unconditional and general obligations of Venezuela.” Ex. J § 1(a).

           Republic’s Response: Undisputed.

           26.     The 1998 FAA provides that the “full faith and credit of Venezuela will be

pledged for the due and punctual payment of all Securities and for the due and timely


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performance of all obligations of Venezuela in respect thereof.” Ex. J § 1(a).

       Republic’s Response: Undisputed.

       27.     The 2001 FAA is between the Bolivarian Republic of Venezuela and Banco

Central de Venezuela, as Venezuela’s official fiscal agent, and Deutsche Bank AG and Bankers

Trust Company, as fiscal agents and principal paying agents. Ex. K at 1.

       Republic’s Response: Undisputed.

       28.     The 2001 FAA was signed on behalf of Venezuela by a then-authorized

representative of Venezuela. Ex. K at PDF 36.

       Republic’s Response: Undisputed.

       29.     The 2001 FAA provides that any bonds issued under it are “unsecured . . . , direct,

unconditional and general obligations of the Republic.” Ex. K § 1(a).

       Republic’s Response: Undisputed.

       30.     The 2001 FAA provides that the “full faith and credit of the Republic will be

pledged for the due and punctual payment of all Notes and for the due and timely performance

of all obligations of the Republic in respect thereof.” Ex. K § 1(a).

       Republic’s Response: Undisputed.

       31.     Plaintiffs purchased the Bonds from institutional broker-dealers who are or were

at the time Plaintiffs transacted with them for the Bonds, registered with the U.S. Securities and

Exchange Commission and regulated by FINRA. Schwartz Decl. ¶ 15.

       Republic’s Response: Undisputed.

       32.     Plaintiffs acquired the Bonds as buyers in the ordinary course of business.

Schwartz Decl. ¶ 16.

       Republic’s Response: Undisputed.


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       33.        Plaintiffs purchased the Bonds in good faith, for value, and without notice of any

adverse claim. Schwartz Decl. ¶ 17.

       Republic’s Response: Undisputed.

       34.        Plaintiffs paid a price within the range of market prices for each of the Bonds on

the day of the purchase. Schwartz Decl. ¶ 18.

       Republic’s Response: Undisputed.

       35.        Plaintiffs have performed all obligations they may have under the FAAs or any

Bonds issued pursuant to the FAAs. Schwartz Decl. ¶ 19.

       Republic’s Response: Undisputed.

             A.      The 13.625% 2018 Bonds
       36.        In August 1998, Venezuela issued a series of bonds designated ISIN

US922646AT10 (the “13.625% 2018 (-AT10) Bonds”). See Ex. A at S-5, S-16.

       Republic’s Response: Undisputed.

       37.        In September 2001, Venezuela issued a series of bonds designated ISIN

USP9395PAA95 (the “13.625% 2018 RegS Bonds,” together with the 13.625% 2018 (-AT10)

Bonds, the “13.625% 2018 Bonds”). See Ex. M at PDF 3.

       Republic’s Response: Undisputed.

       38.        The 13.625% 2018 (-AT10) Bonds are governed by the 1998 FAA. Ex. A at 76.

       Republic’s Response: Undisputed.

       39.        The 13.625% 2018 RegS Bonds are governed by the 2001 FAA. Ex. M at PDF 5.

       Republic’s Response: Undisputed.

       40.        Plaintiff Polonius Holdings, LLC, is the current beneficial owner of a principal

amount of $20,680,000.00 of 13.625% 2018 (-AT10) Bonds. Schwartz Decl. ¶ 14.

       Republic’s Response: Undisputed.

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       41.    Plaintiff Polonius Holdings, LLC, is the current beneficial owner of a principal

amount of $25,319,000.00 of 13.625% 2018 RegS Bonds. Schwartz Decl. ¶ 14.

       Republic’s Response: Undisputed.

       42.    The terms of the 13.625% 2018 (-AT10) Bonds are set forth in a prospectus.

See Ex. A.

       Republic’s Response: Disputed insofar as the Prospectus summarizes the terms. The
       terms are set forth in the Bonds and the FAA.

       43.    The terms of the 13.625% 2018 RegS Bonds are set forth in the Global Note.

See Ex. M.

       Republic’s Response: Undisputed.

       44.    The 13.625% 2018 Bonds are “direct, unconditional, unsecured and general

obligations” of the Bolivarian Republic of Venezuela. Ex. A at S-3; Ex. M at PDF 5.

       Republic’s Response: Undisputed that the 13.625% 2018 Bonds are direct,
       unconditional, unsecured and general obligations, but disputed that the quoted language
       in Plaintiffs’ SMF ¶44 appears in both exhibits. Ex. A at S-1; S-3; 78.

       45.    Venezuela “pledge[d] its full faith and credit for the due and punctual payment

of all amounts due in respect of the [13.625% 2018] Notes.” Ex. M at PDF 5.

       Republic’s Response: Undisputed as to the 13.265% 2018 RegS Bonds, but disputed that
       Plaintiffs’ Ex. M, which contains the language quoted in Plaintiffs’ SMF ¶ 45, addresses
       the terms relevant to all 13.635% 2018 Bonds.

       46.    Under the terms of the 13.625% 2018 Bonds, beginning on February 15, 1999,

half of the annual interest payment owed on the 13.625% 2018 Bonds – 6.8125% – is due

biannually on February 15 and August 15 of each year. Ex. A at S-5; Ex. M at PDF 8; Schwartz

Decl. ¶ 13.

       Republic’s Response: Undisputed as to the 13.625% 2018 (AT10) Bonds, but disputed
       as to the 13.625% 2018 RegS Bonds, which were issued in 2001.



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       47.     The 13.625% 2018 Bonds provide that interest continues to accrue “until the

principal hereof is paid or made available for payment,” that is, “until actual redemption” of the

13.625% 2018 Bonds. Ex. M at PDF 3, PDF 8.

       Republic’s Response: Undisputed as to the 13.265% 2018 RegS Bonds, but disputed that
       Plaintiffs’ Ex. M, which contains the language quoted in Plaintiffs’ SMF ¶ 47, addresses
       the terms relevant to all 13.635% 2018 Bonds.

       48.     Venezuela was obligated to make bi-annual interest payments on the 13.625%

2018 (-AT10) Bonds and 13.625% 2018 RegS Bonds beneficially owned by Plaintiff Polonius

Holdings, LLC, on February 15, 2018, August 15, 2018, February 15, 2019, August 15, 2019,

and February 15, 2020, as required by the terms of those bonds. See Ex. A at S-5; Ex. M at PDF

8; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       49.     Venezuela did not make and has yet to make the interest payments owed to

Plaintiff Polonius Holdings, LLC on the 13.625% 2018 Bonds on February 15, 2018, August

15, 2018, February 15, 2019, August 15, 2019, and February 15, 2020. Schwartz Decl. ¶ 20(a).

       Republic’s Response: Undisputed.

       50.     As of May 10, 2020, the total amount of unpaid interest payments owed to

Plaintiff Polonius Holdings, LLC on the 13.625% 2018 (-AT10) Bonds (before statutory

prejudgment interest) is $7,702,092.72. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       51.     As of May 10, 2020, the total amount of unpaid interest payments owed to

Plaintiff Polonius Holdings, LLC on the 13.625% 2018 RegS Bonds (before statutory

prejudgment interest) is $9,429,849.40. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.



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       52.    On August 15, 2018, the 13.625% 2018 (-AT10) Bonds matured, at which time

the entire principal amount of $20,680,000.00 beneficially owned by Plaintiff Polonius

Holdings, LLC, became due and payable. Ex. A at S-3, S-5; Ex. M at PDF 8.

       Republic’s Response: Undisputed.

       53.    Venezuela did not make and has yet to make the August 15, 2018 principal

payment owed to Plaintiff Polonius Holdings, LLC, on the 13.625% (-AT) 2018 Bonds.

Schwartz Decl. ¶ 21.

       Republic’s Response: Undisputed.

       54.    As a result of Venezuela’s failure to meet its obligations on the 13.625% 2018

(-AT10) Bonds, as of May 10, 2020, Venezuela owes Plaintiff Polonius Holdings, LLC, on the

13.625% 2018 (-AT10) Bonds (not including prejudgment interest) a total of $28,382,092.72,

which represents: (1) $20,680,000.00 in overdue principal; and (2) $7,702,092.72 in overdue

interest payments. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       55.    On August 15, 2018, the 13.625% 2018 RegS Bonds matured, at which time the

entire principal amount of $25,319,000.00 beneficially owned by Plaintiff Polonius Holdings,

LLC, became due and payable. Ex. A at S-3, S-5; Ex. M at PDF 8.

       Republic’s Response: Undisputed.

       56.    Venezuela did not make and has yet to make the August 15, 2018 principal

payment owed to Plaintiff Polonius Holdings, LLC, on the 13.625% 2018 RegS Bonds.

Schwartz Decl. ¶ 21.

       Republic’s Response: Undisputed.

       57.    As a result of Venezuela’s failure to meet its obligations on the 13.625% 2018



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RegS Bonds, as of May 10, 2020, Venezuela owes Plaintiff Polonius Holdings, LLC, on the

13.625% 2018 RegS Bonds (not including prejudgment interest) a total of $34,748,849.40,

which represents: (1) $25,319,000.00 in overdue principal; and (2) $9,429,849.40 in overdue

interest payments. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       58.        Under the offering memorandum for the 13.625% 2018 (-AT10) Bonds and

under the Global Note for the 13.625% 2018 RegS Bonds, the following events constitute an

“Event of Default” under the 13.625% 2018 Bonds:

                  (a) the Republic shall fail to pay the principal amount of any Debt
                  Security when due and such failure continues for a period of 30
                  days; or

                  (b) the Republic shall fail to pay interest or other amounts due on
                  any Debt Security when due and such failure continues for a
                  period of 30 days; or ....

                  Ex. A at 81; see Ex M. at PDF 10.

                  Republic’s Response: Undisputed.

       59.        Under the Global Note for the 13.625% 2018 RegS Bonds:

                  If an [Event] of [D]efault described in subparagraph (a) or (b)
                  hereof shall have occurred and be continuing, Venezuela agrees
                  to pay within 30 days after receipt of a demand therefor all
                  reasonable and documented out-of-pocket expenses of the holders
                  (including, without limitation, all reasonable counsel fees and
                  court costs, stamp taxes, duties and fees) incurred in connection
                  with any reasonable investigation of any such Event of Default or
                  the enforcement of the Securities.

                  Ex. M at PDF 11.

                  Republic’s Response: Undisputed.


             B.      The 7.00% 2018 Bonds


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        60.    In December 2003, Venezuela issued a series of bonds designated ISIN

USP97475AD26 (the “7.00% 2018 Bonds”). See Ex. B at 11, 139.

        Republic’s Response: Undisputed.

        61.    The 7.00% 2018 Bonds are governed by the 2001 FAA, as amended by

Amendment No. 1 to the Fiscal Agency Agreement, dated as of September 19, 2003. Ex. B at

11.

        Republic’s Response: Undisputed.

        62.    Plaintiff Polonius Holdings, LLC, is the current beneficial owner of a total

principal amount of $55,814,000.00 of 7.00% 2018 Bonds. Schwartz Decl. ¶ 14.

        Republic’s Response: Undisputed.

        63.    The terms of the 7.00% 2018 Bonds are set forth in the prospectus. See Ex. B.

        Republic’s Response: Disputed insofar as the Prospectus summarizes the terms. The
        terms are set forth in the Bonds and the FAA.

        64.    The 7.00% 2018 Bonds are “direct, unconditional, unsecured and general

obligations of the Republic.” Ex. B at 11.

        Republic’s Response: Undisputed.

        65.    Venezuela “pledge[d] its full faith and credit for the due and punctual payment

of all amounts due in respect of the [7.00% 2018] Notes.” Ex. B at 11.

        Republic’s Response: Undisputed.

        66.    Under the terms of the 7.00% 2018 Bonds, beginning on June 1, 2004, half of

the annual interest payment owed on the 7.00% 2018 Bonds – 3.5% – is due biannually on

December 1 and June 1 of each year. Ex. B at 11, 14; Schwartz Decl. ¶ 13.

        Republic’s Response: Undisputed.


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       67.     The offering memorandum provides that, if Venezuela fails to redeem the 7.00%

2018 Bonds when due, interest continues to accrue beyond the due date until the 7.00% 2018

Bonds are actually redeemed. Ex. B at 14.

       Republic’s Response: Undisputed.

       68.     Venezuela was obligated to make bi-annual interest payments on the principal

amount of 7.00% 2018 Bonds beneficially owned by Plaintiff Polonius Holdings, LLC, on

December 1, 2017, June 1, 2018, December 1, 2018, June 1, 2019, and December 1, 2019, as

required by the terms of those bonds. See Ex. B at 14; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       69.     Venezuela did not make and has yet to make the interest payments owed to

Plaintiff Polonius Holdings, LLC on the 7.00% 2018 Bonds on December 1, 2017, June 1, 2018,

December 1, 2018, June 1, 2019, and December 1, 2019. Schwartz Decl. ¶ 20(b).

       Republic’s Response: Undisputed.

       70.     As of May 10, 2020, the total amount of unpaid interest payments owed to

Plaintiff Polonius Holdings, LLC on the 7.00% 2018 Bonds (before statutory prejudgment

interest) is $11,486,094.21. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       71.     The 7.00% 2018 Bonds matured on December 1, 2018, at which time the entire

principal amount of $55,814,000 beneficially owned by Plaintiff Polonius Holdings, LLC,

became due and payable. Ex. B at 14.

       Republic’s Response: Undisputed.

       72.     Venezuela did not make and has yet to make the December 1, 2018 principal

payment owed to Plaintiff Polonius Holdings, LLC, on the 7.00% 2018 Bonds. Schwartz Decl.



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¶ 22.

        Republic’s Response: Undisputed.

        73.        As a result of Venezuela’s failure to meet its obligations on the 7.00% 2018

Bonds, as of May 10, 2020, Venezuela owes Plaintiff Polonius Holdings, LLC, on the 7.00%

2018 Bonds (not including prejudgment interest) a total of $67,300,094.21, which represents:

(1) $55,814,000 in overdue principal; and (2) $11,486,094.21 in overdue interest payments.

Schwartz Decl. ¶ 23.

        Republic’s Response: Undisputed.

              C.      The 12.75% 2022 Bonds

        74.        In August 2010, Venezuela issued a series of bonds designated ISIN

USP17625AC16 (the “12.75% 2022 Bonds”). See Ex. C at 12, 126.

        Republic’s Response: Undisputed.

        75.        The 12.75% 2022 Bonds are governed by the 2001 FAA (July 25, 2001 (as

amended by Amendment No. 1 to the Fiscal Agency Agreement dated as of September 19,

2003ꞏ Amendment No. 2 to the Fiscal Agency Agreement dated as of March 25, 2005; and

Amendment No. 3 to the Fiscal Agency Agreement dated as of December 17, 2007)). Ex.

C at 12.

        Republic’s Response: Undisputed.

        76.        Plaintiffs are current beneficial owners of a total principal amount of

$49,703,673.00 of 12.75% 2022 Bonds. Schwartz Decl. ¶ 13.

        Republic’s Response: Undisputed.

        77.        Specifically, the following Plaintiffs are beneficial owners of the following

principal amounts of the 12.75% 2022 Bonds (the “12.75% Plaintiff Owners”):


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       Republic’s Response: Undisputed.

       83.        Venezuela did not make and has yet to make the interest payments owed to the

12.75% Plaintiff Owners on the 12.75% 2022 Bonds on February 23, 2018, August 23, 2018,

February 23, 2019, August 23, 2019, and February 23, 2020. Schwartz Decl. ¶ 20(c).

       Republic’s Response: Undisputed.

       84.        As of May 10, 2020, the total amount of unpaid interest payments owed to the

12.75% Plaintiff Owners (before statutory prejudgment interest) on the 12.75% 2022 Bonds

is $17,183,611.18. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       85.        As a result of Venezuela’s failure to meet its obligations on the 12.75% 2022

Bonds, as of May 10, 2020, Venezuela owes the 12.75% Plaintiff Owners (not including

prejudgment interest) $17,183,611.18 in overdue interest payments on the 12.75% 2022 Bonds.

Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

             D.      The 9.00% 2023 Bonds

       86.        In May 2008, Venezuela issued a series of bonds due in 2023 bearing an interest

rate of 9.00% per annum that were designated ISIN USP17625AA59 (the “9.00% 2023 Bonds”).

See Ex. D at 11, 22.

       Republic’s Response: Undisputed.

       87.        The 9.00% 2023 Bonds are governed by the 2001 FAA (July 25, 2001 (as

amended by Amendment No. 1 to the Fiscal Agency Agreement dated as of September 19, 2003;

Amendment No. 2 to the Fiscal Agency Agreement dated as of March 25, 2005; and

Amendment No. 3 to the Fiscal Agency Agreement dated as of December 17, 2007)). Ex.


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and November 7 of each year. Ex. D at 14; Schwartz Decl. ¶ 13.


         Republic’s Response: Disputed insofar as Plaintiffs’ SMF ¶ 93 suggests that any interest
         payment was owed on May 7, 2008; the first interest payment was due on November 7,
         2008. Ex. D at 14.

        94.    Venezuela was obligated to make bi-annual interest payments on the

principal amount of 9.00% 2023 Bonds beneficially owned by the 9.00% Plaintiff Owners

on November 7, 2017, May 7, 2018, November 7, 2018, May 7, 2019 November 7, 2019,

and May 10, 2020, as required by the terms of those bonds. See Ex. D at 14; Schwartz Decl. ¶

13.

        Republic’s Response: Disputed insofar as Plaintiffs’ SMF ¶ 94 states that interest was
        due on May 10, 2020, rather than May 7, 2020. Schwartz Decl. ¶ 20(d).

        95.    Venezuela did not make and has yet to make the interest payments owed to the

9.00% Plaintiff Owners on the 9.00% 2023 Bonds on November 7, 2017, May 7, 2018,

November 7, 2018, May 7, 2019, November 7, 2019, and May 10, 2020. Schwartz Decl. ¶ 20(d).

        Republic’s Response: Disputed insofar as Plaintiffs’ SMF ¶ 95 states that interest was
        due on May 10, 2020, rather than May 7, 2020. Schwartz Decl. ¶ 20(d).

        96.    As of May 10, 2020, the total amount of unpaid interest payments owed to

the 9.00% Plaintiff Owners on the 9.00% 2023 Bonds (before statutory prejudgment

interest) is $452,838.06. Schwartz Decl. ¶ 23.

        Republic’s Response: Undisputed.

        97.    As a result of Venezuela’s failure to meet its obligations on the 9.00% 2023

Bonds, as of May 10 2020, Venezuela owes the 9.00% Plaintiff Owners (not including

prejudgment interest) $452,838.06 in overdue interest payments on the 9.00% 2023 Bonds.

Schwartz Decl. ¶ 23.


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       Republic’s Response: Disputed insofar as the Prospectus summarizes the terms. The
       terms are set forth in the Bonds and the FAA.

       103.    The 8.25% 2024 Bonds are “direct, unconditional, unsecured and general

obligations of the Republic.” Ex. E at 13.

       Republic’s Response: Undisputed.

       104.    Venezuela “pledged its full faith and credit for the due and punctual payment of

all amounts due in respect of the [8.25% 2024] Bonds.” Ex. E at 13.

       Republic’s Response: Undisputed.

       105.    Under the terms of the 8.25% 2024 Bonds, beginning on April 13, 2010, half of

the annual interest payment owed on the 8.25% 2024 Bonds – 4.125% – is due biannually on

April 13 and October 13 of each year. Ex. E at 15; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       106.    Venezuela was obligated to make bi-annual interest payments on the principal

amount of 8.25% 2024 Bonds beneficially owned by the 8.25% Plaintiff Owners on October 13,

2017, April 13, 2018, October 13, 2018, April 13, 2019, October 13, 2019, and April 13, 2020

as required by the terms of those bonds. See Ex. E at 15; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       107.    Venezuela did not make and has yet to make the interest payments owed to the

8.25% Plaintiff Owners on the 8.25% 2024 Bonds on October 13, 2017, April 13, 2018, October

13, 2018, April 13, 2019, October 13, 2019, and April 13, 2020. Schwartz Decl. ¶ 20(e).

       Republic’s Response: Undisputed.

       108.    As of May 10, 2020, the total amount of unpaid interest payments (before

statutory prejudgment interest) owed to the 8.25% Plaintiff Owners on the 8.25% 2024 Bonds



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is $1,228,418.07. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       109.     As a result of Venezuela’s failure to meet its obligations on the 8.25% 2024

Bonds, as of May 10, 2020, Venezuela owes the 8.25% Plaintiff Owners (not including

prejudgment interest) $1,228,418.07 in overdue interest payments on the 8.25% 2024

Bonds. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

           F.      The 11.75% 2026 Bonds

       110.     In October 2011, Venezuela issued a series of bonds designated ISIN

USP17625AE71 (the “11.75% 2026 Bonds”). See Ex. F at 12, 140.

       Republic’s Response: Undisputed.

       111.     The 11.75% 2026 Bonds are governed by the 2001 FAA (July 25, 2001 (as

amended by Amendment No. 1 to the Fiscal Agency Agreement dated as of September 19,

2003ꞏ Amendment No. 2 to the Fiscal Agency Agreement dated as of March 25, 2005; and

Amendment No. 3 to the Fiscal Agency Agreement dated as of December 17, 2007)). Ex.

F at 12.

       Republic’s Response: Undisputed.

       112.     Plaintiffs are current beneficial owners of a total principal amount of

$221,862,476.00 of 11.75% 2026 Bonds. Schwartz Decl. ¶ 13.

      Republic’s Response: Undisputed.

       113.     Specifically, the following Plaintiffs are beneficial owners of the following

principal amounts of the 11.75% 2026 Bonds (the “11.75% Plaintiff Owners”):




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21, 2017, April 21, 2018, October 21, 2018, April 21, 2019, October 21, 2019, and April 21,

2020, as required by the terms of those bonds. See Ex. F at 12, 15; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       119.     Venezuela did not make and has yet to make the interest payments owed to the

11.75% Plaintiff Owners on the 11.75% 2026 Bonds on October 21, 2017, April 21, 2018,

October 21, 2018, April 21, 2019, October 21, 2019, and April 21, 2020. Schwartz Decl. ¶ 20(f).

       Republic’s Response: Undisputed.

       120.     As of May 10, 2020, the total amount of unpaid interest payments (before

statutory prejudgment interest) owed to the 11.75% Plaintiff Owners on the 11.75% 2026 Bonds

is $79,559,823.28. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       121.     As a result of Venezuela’s failure to meet its obligations on the 11.75% 2026

Bonds, as of May 10, 2020, Venezuela owes the 11.75% Plaintiff Owners (not including

prejudgment interest) $79,559,823.28 in overdue interest payments on the 11.75% 2026 Bonds.

Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

           G.      The 9.25% 2028 Bonds

       122.     In May 2008, Venezuela issued a series of bonds due in 2028 bearing an interest

rate of 9.25% per annum that were designated ISIN USP17625AB33 (the “9.25% 2028 Bonds”).

See Ex. D at 11, 22.

       Republic’s Response: Undisputed.

       123. The 9.25% 2028 Bonds are governed by 2001 FAA (July 25, 2001 (as

amended by Amendment No. 1 to the Fiscal Agency Agreement dated as of September 19,


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       129.   Under the terms of the 9.25% 2028 Bonds, beginning on May 7, 2008, half of

the annual interest payment owed on the 9.25% 2028 Bonds - 4.625% - is due biannually

on May 7 and November 7 of each year. Ex. D at 14; Schwartz Decl. ¶ 13.

       Republic’s Response: Disputed insofar as Plaintiffs’ SMF ¶ 93 suggests that any
       interest payment was owed on May 7, 2008; the first interest payment was due on
       November 7, 2008. Ex. D at 14.

       130.   Venezuela was obligated to make bi-annual interest payments on the

principal amount of 9.25% 2028 Bonds beneficially owned by the 9.25% Plaintiff Owners

on November 7, 2017, May 7, 2018, November 7, 2018, May 7, 2019, November 7, 2019, and

May 7, 2020, as required by the terms of those bonds. See Ex. D at 14; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       131.   Venezuela did not make and has yet to make the interest payments owed to the

9.25% Plaintiff Owners on the 9.25% 2028 Bonds on November 7, 2017, May 7, 2018,

November 7, 2018, May 7, 2019, November 7, 2019, and May 7, 2020. Schwartz Decl. ¶ 20(g).

       Republic’s Response: Undisputed.

       132.   As of May 10, 2020, the total amount of unpaid interest payments (before

statutory prejudgment interest) owed to the 9.25% Plaintiff Owners on the 9.25% 2028 Bonds

is $737,583.09. Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

       133.   As a result of Venezuela’s failure to meet its obligations on the 9.25% 2028

Bonds, as of May 10, 2020, Venezuela owes the 9.25% Plaintiff Owners (not including

prejudgment interest) $737,583.09 in overdue interest payments on the 9.25% 2028 Bonds.

Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.



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obligations of the Republic.” Ex. G at 12.

       Republic’s Response: Undisputed.

       140.    Venezuela “pledged its full faith and credit for the due and punctual payment

of all amounts due in respect of the [11.95% 2031] Bonds.” Ex. G at 12.

       Republic’s Response: Undisputed.

       141.    Under the terms of the 11.95% 2031 Bonds, beginning on February 5, 2012,

half of the annual interest payment owed on the 11.95% 2031 Bonds - 5.975% - is due

biannually on February 5 and August 5 of each year. Ex. G at 11, 14; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       142.    Venezuela was obligated to make bi-annual interest payments on the principal

amount of 11.95% 2031 Bonds beneficially owned by the 11.95% Plaintiff Owners on February

5, 2018, August 5, 2018, February 5, 2019, August 5, 2019, and February 5, 2020, as required

by the terms of those bonds. See Ex. G at 11, 14; Schwartz Decl. ¶ 13.

       Republic’s Response: Undisputed.

       143.    Venezuela did not make and has yet to make the interest payments owed to

the 11.95% Plaintiff Owners on the 11.95% 2031 Bonds on February 5, 2018, August 5,

2018, February 5, 2019, August 5, 2019, and February 5, 2020. Schwartz Decl. ¶ 20(h).

       Republic’s Response: Undisputed.

       144.    As of May 10, 2020, the total amount of unpaid interest payments (before

statutory prejudgment interest) owed to the 11.95% Plaintiff Owners on the 11.95% 2031

Bonds is $16,601,025.62. Schwartz Decl. ¶ 23.

      Republic’s Response: Undisputed.



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       145.     As a result of Venezuela’s failure to meet its obligations on the 11.95% 2031

Bonds, as of May 10, 2020, Venezuela owes the 11.95% Plaintiff Owners (not including

prejudgment interest) $16,601,025.62 in overdue interest payments on the 11.95% 2031 Bonds.

Schwartz Decl. ¶ 23.

       Republic’s Response: Undisputed.

           I.      Total Amount Outstanding

       146.     Plaintiffs beneficially own a total principal balance of $432,862,156 of the Bonds.

Schwartz Decl. ¶¶ 13-14, 23.

       Republic’s Response: Undisputed.

       147.     As a result of Venezuela’s failure to meet its obligations on all of the Bonds

beneficially owned by Plaintiffs, as of May 10, 2020, Venezuela owes Plaintiffs (not including

prejudgment interest) overdue principal and interest payments amounting to $246,194,335.63.

Schwartz Decl. ¶¶ 23-24; Ex. 1 to the Schwartz Decl. (interest worksheet).

       Republic’s Response: Undisputed.

       148.     Applying New York’s 9% statutory prejudgment interest, which accrues on each

missed coupon payment, as of May 10, 2020, Venezuela’s unpaid coupon payments to Plaintiffs

have accrued prejudgment interest amounting to $15,863,903.87. See Schwartz Decl. ¶ 25; Ex.

1 to the Schwartz Decl. (interest worksheet).

       Republic’s Response: Disputed that Plaintiffs’ SMF ¶ 148 states a material fact insofar
       as it is based on New York 9% statutory prejudgment interest rather than the federal
       interest rate. See 28 U.S.C. § 1961.

       149.     Including unpaid prejudgment interest on missed interest payments at New

York’s statutory rate of 9.00%, as of May 10, 2020, Venezuela owes Plaintiffs overdue principal

and interest payments for the Bonds at issue amounting to $262,058,239.50. Schwartz Decl. ¶


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26; see also Ex. 1 to the Schwartz Decl. (interest worksheet).

         Republic’s Response: Disputed that Plaintiffs’ ¶ 149 states a material fact insofar as it
         is based on New York 9% statutory prejudgment interest rather than the federal interest
         rate. See 28 U.S.C. § 1961.

   IV.      AUTHORIZATION TO SUE

            A.      Authorizations From Cede & Co. and From Plaintiffs’ Securities
                    Intermediaries

         150.    Cede & Co. (“Cede”), as nominee of the Depository Trust Company, is the

registered owner and holder of the bond issuances held beneficially by Plaintiffs. See Ex. A at

S-5; Ex. B at 23; Ex. C at 118; Ex. D. at 11; Ex. E at 112; Ex. F at 132; Ex. G at 69; Ex. H at S-

13; Ex. I at S-15; Ex. L.

         Republic’s Response: Undisputed.

         151.    With respect to the 13.625% 2018 (-AT10) Bonds, Cede has provided written

authorization permitting Plaintiffs’ securities intermediary “solely with respect to the Notes held

by the Beneficial Owner, to take any and all actions and exercise any and all rights and remedies

that Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes

“to the full extent permissible under applicable law.” Ex. L. at 1.

         Republic’s Response: Undisputed.

         152.    With respect to the 13.625% 2018 (-AT10) Bonds, Plaintiffs’ securities

intermediary has, in turn, authorized Plaintiff Polonius Holdings, LLC, to take “any and all

actions and exercise any and all rights and remedies that Cede & Co. as the holder of record of

Notes is entitled to take . . . to the full extent permissible under applicable law.” Ex. L at 2-3.

         Republic’s Response: Undisputed.

         153.    With respect to the 13.625% 2018 RegS Bonds, Cede has provided written

authorization permitting Plaintiffs’ securities intermediary “solely with respect to the Notes held


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by the Beneficial Owner, to take any and all actions and exercise any and all rights and remedies

that Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes

“to the full extent permissible under applicable law.” Ex. L. at 4.

        Republic’s Response: Undisputed.

        154.    With respect to the 13.625% 2018 RegS Bonds, Plaintiffs’ securities

intermediary has, in turn, authorized Plaintiff Polonius Holdings, LLC, to take “any and all

actions and exercise any and all rights and remedies that Cede & Co. as the holder of record of

Notes is entitled to take . . . to the full extent permissible under applicable law.” Ex. L at 5-6.

        Republic’s Response: Undisputed.

        155.    With respect to the 7.00% 2018 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediary “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies

that Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes

“to the full extent permissible under applicable law.” Ex. L at 7.

       Republic’s Response: Undisputed.

       156.    With respect to the 7.00% 2018 Bonds, Plaintiffs’ securities intermediary has, in

turn, authorized Plaintiff Polonius Holdings, LLC, to take “any and all actions and exercise any

and all rights and remedies that Cede & Co. as the holder of record of Notes is entitled to

take. . . to the full extent permissible under applicable law.” Ex. L at 8-9.

       Republic’s Response: Undisputed.

       157.    With respect to the 12.75% 2022 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediaries “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies that



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Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes “to the

full extent permissible under applicable law.” Ex. L at 10-11.

       Republic’s Response: Undisputed.

       158.    With respect to the 12.75% 2022 Bonds, Plaintiffs’ securities intermediaries

have, in turn, authorized the 12.75% Plaintiff Owners to take “any and all actions and exercise

any and all rights and remedies that Cede & Co. as the holder of record of Notes is entitled to

take . . . to the full extent permissible under applicable law.” Ex. L at 12-14.

       Republic’s Response: Undisputed.

       159.    With respect to the 9.00% 2023 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediary “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies that

Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes “to the

full extent permissible under applicable law.” Ex. L at 15-16.

       Republic’s Response: Undisputed.

       160.    With respect to the 9.00% 2023 Bonds, Plaintiffs’ securities intermediary has, in

turn, authorized the 9.00% Plaintiff Owners to take “any and all actions and exercise any and all

rights and remedies that Cede & Co. as the holder of record of Notes is entitled to take . . . to the

full extent permissible under applicable law.” Ex. L at 17-19.

        Republic’s Response: Undisputed.

        161.    With respect to the 8.25% 2024 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediary “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies that

Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes “to the



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full extent permissible under applicable law.” Ex. L at 20-21.

       Republic’s Response: Undisputed.

       162.    With respect to the 8.25% 2024 Bonds, Plaintiffs’ securities intermediary has, in

turn, authorized the 8.25% Plaintiff Owners to take “any and all actions and exercise any and

all rights and remedies that Cede & Co. as the holder of record of Notes is entitled to take . . .

to the full extent permissible under applicable law.” Ex. L at 22-24.

       Republic’s Response: Undisputed.

       163.    With respect to the 11.75% 2026 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediaries “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies that

Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes “to the

full extent permissible under applicable law.” Ex. L at 25-26.

       Republic’s Response: Undisputed.

       164.    With respect to the 11.75% 2026 Bonds, Plaintiffs’ securities intermediaries

have, in turn, authorized the 11.75% Plaintiff Owners to take “any and all actions and exercise

any and all rights and remedies that Cede & Co. as the holder of record of Notes is entitled to

take . . . to the full extent permissible under applicable law.” Ex. L at 27-29.

       Republic’s Response: Undisputed.

       165.    With respect to the 9.25% 2028 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediary “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies

that Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes

“to the full extent permissible under applicable law.” Ex. L at 30-31.



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       Republic’s Response: Undisputed.

       166.    With respect to the 9.25% 2028 Bonds, Plaintiffs’ securities intermediaries have,

in turn, authorized the 9.25% Plaintiff Owners of those bonds to take “any and all actions and

exercise any and all rights and remedies that Cede & Co. as the holder of record of Notes is

entitled to take . . . to the full extent permissible under applicable law.” Ex. L at 32-34.

       Republic’s Response: Undisputed.

       167.    With respect to the 11.95% 2031 Bonds, Cede has provided written authorization

permitting Plaintiffs’ securities intermediaries “solely with respect to the Notes held by the

Beneficial Owner, to take any and all actions and exercise any and all rights and remedies that

Cede & Co. as the holder of record of Notes is entitled to take” with respect to the Notes “to the

full extent permissible under applicable law.” Ex. L at 35-36.

       Republic’s Response: Undisputed.

       168.    With respect to the 11.95% 2031 Bonds, Plaintiffs’ securities intermediaries

have, in turn, authorized the 11.95% Plaintiff Owners to take “any and all actions and exercise

any and all rights and remedies that Cede & Co. as the holder of record of Notes is entitled to

take . . . to the full extent permissible under applicable law.” Ex. L at 37-39.

       Republic’s Response: Undisputed.

Dated: May 20, 2020
New York, New York




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